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                             United States District Court
                                Northern District of Texas
                                                                         Dallas Division

                                         August 1, 2017

DeWayne Michael Cotten
#50025-177
BOP El Reno FCI
PO Box 1500
El Reno, OK 73036


Re: Your correspondence received in the U.S. District Clerk’s Office on 8/1/2017
Case No./Style: 3:15-cr-00068-K-1

Dear Mr. Cotten,

Enclosed is a courtesy copy of the judgment in your case. The Clerk's Office does not have a
commitment document you reference in your request. Future copies of docket sheets and/or
documents will require prepayment of the copy expense, currently $0.50 per page. Certification
of copies is an additional $11.00 per document. The court may direct the clerk to provide copies
without cost to an indigent defendant who is proceeding pro se in a criminal case. However, the
granting of in forma pauperis status under 28 U.S.C. § 1915 in a case does not entitle a litigant
to free copies or services.




                                                            Sincerely,
                                                            Deputy Clerk - RAN
